                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

JOHN RUFFINO and MARTHA RUFFINO,                )
Husband and Wife,                               )
                                                )
               Plaintiffs,                      )
                                                )
v.                                              )      Civil Action No.: 3:17-cv-00725
                                                )
DR. CLARK ARCHER and HCA                        )      Jury Demand
HEALTH SERVICES OF TENNESSEE, INC.              )      Judge Crenshaw
d/b/a STONECREST MEDICAL CENTER,                )      Magistrate Judge Newbern
                                                )
               Defendants.                      )


                   HCA HEALTH SERVICES OF TENNESSEE, INC.’S
                        MOTION FOR SUMMARY JUDGMENT

         HCA Health Services of Tennessee, Inc. d/b/a StoneCrest Medical Center

(“StoneCrest”), in compliance with Federal Rule of Civil Procedure 56, Local Rule 56.01,

and Local Rule 7.01(a), files this Motion for Summary Judgment.               In support,

StoneCrest relies on a Memorandum of Law and (1) its Statement of Undisputed

Material Facts, (2) Plaintiffs’ Complaint, (3) affidavits from Adrian A. Jarquin-Valdivia,

M.D., and Jodi Dodds, M.D., (4) medical records from (a) Neurology Clinic Associates,

(b) StoneCrest Medical Center, and (c) Centennial Medical Center, and (5) the

deposition transcript of Martha Ruffino. Supporting materials are attached to a Notice of

Filing. Because there is no genuine issue of material fact that StoneCrest complied with

accepted standards of care and did not cause any injury to Plaintiffs that would not

otherwise have occurred, StoneCrest respectfully submits it is entitled to summary

judgment as a matter of law.




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                                                  Respectfully submitted,

                                                  GIDEON, COOPER & ESSARY, PLC

                                                  /s/ J. Blake Carter
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                                                  Counsel for HCA Health Services of
                                                  Tennessee, Inc. d/b/a StoneCrest
                                                  Medical Center




                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been furnished, by
electronic means via the Court’s electronic filing system, this 30th day of November, 2017,
to the following:

Brian Cummings                                 James E. Looper
Brian Manookian                                Bryant Witt
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                                                  /s/ J. Blake Carter




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